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1    CARL E. LARSON, Bar #48162
     Attorney at Law
2    9490 Golden Gate Avenue
     Orangevale, CA 95662
3    Telephone: (916) 989-9226
4    Attorney for Defendant
     KHAMSOU SIDA
5
6                          IN THE UNITED STATES DISTRICT COURT
7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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9
                                           )   CR.S-08-390-GEB
10   UNITED STATES OF AMERICA,             )   CR.S-08-392-GEB
                                           )
11                     Plaintiff,          )
                                           )   STIPULATION AND ORDER
12        v.                               )
                                           )   Date: March 27, 2006
13   KHAMSOU SIDA,                         )   Time: 9:00 a.m.
                                           )   Judge: Garland E. Burrell
14                     Defendant.          )
                                           )
15   _______________________________
16
17
18       The parties, plaintiff United States, through counsel, Assistant

19   United States Attorney, MICHAEL BECKWITH and the defendant, KHAMSOU

20   SIDA, through counsel, CARL E. LARSON, hereby stipulate that the status

21   conference set for March 12, 2009 at 9:00 a.m. be rescheduled to March

22   27, 2009 at 9:00 a.m.      Counsel requesting this continue due to the

23   Psychiatric Report is not yet available.

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1        Speedy trial time is to be excluded from the date of this order
2    through the date of the status conference set for March 27, 2009

3    pursuant to 18 U.S.C. § 3161 (h)(1)(A) [mental incompetence to stand

4    trial] (Local Code N).

5
      Dated: March 11, 2009
6                                              Respectfully submitted,

7
                                               /s/ Carl E. Larson
8                                              _____________________________
                                               CARL E. LARSON
9                                              Attorney for Defendant
                                               RALPH LOPEZ
10
11
     Dated: March 11, 2009                     LAWRENCE G. BROWN
12                                             Acting United States Attorney

13                                             /s/ Michael Beckwith

14                                            MICHAEL BECKWITH
                                              Assistant United States Attorney
15   So ordered.

16   Dated:     March 12, 2009
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18                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
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